 

Case 2:09-Cr-00119-DB-DBP Document 106 Filed 03/11/10 Page 1 of 6
%\AO 245B (Rev. 06/05) Judgment in a Criminal Case

 

 

 

Slieet 1
UNITED STATES DisTRiCT COURT
Central District of utah
uNiTED sTATEs oF AMERICA JUDGMENT IN A CMMINEAl%@JOW ,TED 8
V, URT, D ;T/QTES
William James viehi AM E N D ED "STR;CT OF !%;t$l~rlmm

Case Number: DUTX 2:09-0r-000119-RPAR
UsM Number- 15909-081 D- M l 7 291&’

ES
Heather E. Harris \M ’ CF_ERK
Defendant’s A‘rtomey ' ' LLEQT(""---.._________`

 

THE DEFENDANT:
Mpleaded guilty to count(s) |-|ndictment

i:i pleaded nolo contendere to count(s)
which was accepted by the court.

 

|:l was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Offense Ended ( _'

     
 

 

The defendant is sentenced as provided in pages 2 through 10 of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

i:i The defendant has been found not guilty on count(s)

 

UCount(s) || l:l is i:i are dismissed on the motion of the United States.

 

_ l lt is ordered t_hat the defendant _must notify the United States attorney for this district within 30 da s of any change of name, residence,
or mailing address until all fines, restitution,_costs, and special assessments imposed l_)y this Judgme_nt are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstancesl

2/4/2010

Date of lmposition of Judgment
.,z-,€,, .,w 5 5 !~/-
P'

SignaturM Judge

 

 

 

Dee Benson U.S. District Judge
Name ofJudge Ti'tle of lodge
. 2/5f2010

 

Date

 

 

 

 

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AO 245B (Rev. 06/05) .ludgment in Criminnl Case
Sheet 2 _ lmprisonment

_ludgment * Page 2 of
DEFENDANT: Wi|liam James Vieh|

CASE NUMBER: DUTX 2209-0¥'-000119-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

24 months.

ml The court makes the following recommendations to the Bureau of Prisons:

The Court recommends Safford, AZ., or Termina| island for family visitations.

g The defendant is remanded to the custody of the United States Marshal.

l:] The defendant shall surrender to the United States Marshal for this district:
l:l at ` |:] a.m. l:_l p.m. on

 

l:l as notified by the United States Marshal.

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

[:l as notified by the United States Marshal.

I:I as notified by the Probation or Pretrial Services Office`

10

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 

 

 

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AO 2453 (Rev. 06/05) Judgment iri a Criminal Case

Sheet 3 _ Supervised Release

JudgmentiPage 3 of 1 0

DEFENDANT: Wi||iam James Vieh| "”'_"”
CASE NUMBER: DUTX 2:09-cr-000119-001

SUPERVISED RELEASE

Upon release from irnprisonrnent, the defendant shall be on supervised release for a term of :

36 months.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled si_ibstance. The defendant shall refrain from any unlawful use of_ a controlled
substance The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

ij

5 U'§"§§

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

'['he defendant shall not possess a firearrn, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

[f this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.
STANDARD CONDITIONS OF SUPERVISION
l) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the }defendlant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
eac mont ;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7`) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance Or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the pro ation officer;
lO) the defendant Shall permit a_ probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation cf any
contraband observed in plain view of the probation officer;
l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
. permission of the court; and
13) as directed by the robation officerJ the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal

record or ersonal|]_ history_ or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirement

 

 

 

 

 

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Sheet 3C * Supervised Release

AO 245B

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DEFENDANT: Wi||iam James Vieh|
CASE NUMBER; DUTX 2:09-cr-0001‘19~001

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall submit his person, residence, ofnce, or vehicle to a search, conducted by the United States
Probation Office at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
evidence of a violation of a condition of reiease; failure to submit to a search may be grounds for revocation; the defendant
shall warn any other residents that the premises may be subject to searches pursuant to this condition.

2. The defendant shall not have any contact with any member or associate of the Anima| Liberation Front or Earth
Liberation Front regarding the activities of either of those organizations, either in person, by mai|, by phone, by e-mai|, third
person, or by any other method, except as authorized in advance by the Probation Office.

 

 

 

 

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Sheet 5 -- Criminal Monetary Penalties

Judgment _ Page 5 of 1 0
DEFENDANT: Wi||iam James Vieh| _

CASE NUMBER: ou'rx 2;09-cr-cooi 19-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ $ 66,753.00
i:] The determination of restitution is deferred until . An Amena’ed Judgment in a Cri'mi`nal Case (AO 245C) will be entered

after such determination

l:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each payee shall receive an approximately Upro ortioned _ayment, unless specified otherwise in
the priority or_der or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee lolall&$§_* Restitution Ordered Priorig or Percentage

stem :. ' §

        

TOTALS $ 66,753.00 $ 66,753.00

l:] Restitution amount ordered pursuant to plea agreement $

I:I The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:I The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[:| the interest requirement is waived for the [:| fine |:] restitution

\:| the interest requirement for the l:l fine I:l restitution is modified as follows:

* Findings for the total amount of losses are re%uired under Chapters 109A, l lO, l lOA, and l l3A of Title 18 for offenses committed on or after
September l3, 1994, but before April 23, 199 .

 

 

 

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Sheet 6 - Schediile of Payments

.iudgment ` Page 6 of 1 0
DEFENDANT; Wi||iam James Vieh| __
CASE NUMBER; DUTX 2:09-01‘-000119~001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A 11 Liimp sum payment of $ 100-00 due immediately, balance due

{:| not later than ,or
[:] inaccordance l:| C, [:j D, [:] E,or |:] Fbelow; or

B [j Payment to begin immediately (may be combined with |:| C, |:| D, or E F below); or

C |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or -

E ['_`] Payrnent during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F |J Special instructions regarding the payment of criminal monetary penalties:

Restitution in the amount of $ 66,753.00 is due with regular payments to begin immediately to Linds`ey N|civlu||in,
10456 South 1540 West, South Jordan, Utah 84095. This restitution shall be joint and several With any other
person found to be associated with this case.

Unless the court has expressl ordered otherwis_e, if this jud ment imposes imprisonment aylment ofcriminal monetary/penalties is due durii_i
imprisonment All crimina moneta penalties, except ose payments made througii t e Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made tot e clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

|If Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

This restitution shall be joint and several with any other person found to be associated with this ease.

[]

The defendant shall pay the cost of prosecution

l:l

The defendant shall pay the following court cost(s):

I:I The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in _the following order1 (l? assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

 

 

